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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

 UNITED STATES OF AMERICA
 upon the relation and for the use of the
 TENNESSEE VALLEY AUTHORITY,
 Plaintiff,

        v.                                                NO. 1:17-CV-00202-SA-DAS

 EASEMENTS AND RIGHTS-OF-WAY
 OVER A TOTAL OF 2.48 ACRES OF LAND,
 MORE OR LESS, IN CLAY COUNTY,
 MISSISSIPPI, and
 JIMMY BELK, ET AL.,
 Defendants.

        ORDER REGARDING PROCEDURE FOR PAYMENT OF COMPENSATION

       On September 14, 2020, this Court entered an Order and Memorandum Opinion [52]

granting TVA’s Motion for Summary Judgment as to Just Compensation. The Court indicated in

that Order and Memorandum Opinion [52] that it would enter a separate Order concerning the

procedure for disbursement upon receipt from the Plaintiff the last known addresses for all

Defendants. The Plaintiff has provided the addresses as directed. The Procedure for Payment of

Compensation is set forth below.

                    PROCEDURE FOR PAYMENT OF COMPENSATION

       I. CLAIMANT’S REQUEST FOR OBTAINING DISBURSEMENT.

       Claimants, including any named or unnamed person who claims interest in the

compensation, may apply to the Court for distribution of the award in accordance with their

respective ownership interests.




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       Claimants may apply for a distribution of the award by sending a written request to the

       Clerk of Court
       Federal Building Room 369
       911 Jackson Avenue East
       Oxford, MS 38655

       The Clerk shall docket each written request electronically. The request should include:

       -   The applicant’s name, address, and email address (if any).
       -   The necessary tax-identification information.
       -   The applicant’s claimed interest in the property and the basis for that claim.
       -   Proof of the applicant’s interest in the property.

       Requests must be postmarked by December 21, 2020. Any questions regarding the process

should be directed to the Clerk’s office via telephone ((662) 234-1971) or email

(ecf_information@msnd.uscourts.gov). If multiple requests are received, the Court will schedule

a hearing to determine how the proceeds should be distributed.

       II. PROVIDING NOTICE TO DEFENDANTS

       The Clerk shall serve a copy of this Order and the previous Order and Memorandum

Opinion [52] via U.S. mail on each of the Defendants and respondents with known addresses listed

in Appendix A to this Order; according to the Plaintiff, those are the correct addresses.1 Because

Appendix A lists the address of each of the Defendants, it shall be filed as a restricted document.

       III. LEGAL TITLE TO EASEMENTS

       The Plaintiff shall submit to the Court a proposed final order vesting legal title to the

permanent and temporary easements.

       It is so ORDERED, on this the 19th day of October, 2020.

                                                       /s/ Sharion Aycock
                                                       UNITED STATES DISTRICT JUDGE

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  Although the Court’s Order and Memorandum Opinion [52] directed the Plaintiff to provide the Court
the last known addresses for the Defendants, Sallie Golden, who has appeared pro se in this cause, also
provided the Court with addresses. To the extent that the addresses provided by the Plaintiff and Golden
were different, the Court has listed both addresses in Appendix A.


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                                       APPENDIX A

Jimmy Belk
2150 West McDowell Road
Jackson, Mississippi 39204

Larry Belk
13916 Highway 46
Pheba, Mississippi 39755

Gussie Belk Shaffer
2211 East 87th Street, Apt. 2
Chicago, Illinois 60617

Genethie Belk
14500 South Manistee Avenue
Burnham, Illinois 60633

Laura Mae Brownlee
7435 South Kingston Avenue, Apt. 204
Chicago, Illinois 60649

Margaret Hill
707 Airport Road, Apt. K64
Houston, Mississippi 38851

Margaret Hill
7027 N. Beasley Road
Pheba, MS 39755

LaShorn Belk
515 County Road 157
Okolona, Mississippi 38860

Doris M. Shotwell
1500 Pacheco Rd 60
Bakersfield, California 93307-0910

Bertrand Shotwell
3000 S. Chester Avenue, SPC 108
Bakersfield, California 93304

Cal Ford
295 County Road 68
Woodland, Mississippi 39776



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Tonia Moyler
156 County Road 76
Woodland, Mississippi 39776

Raveen Edwards
3362 S. Green Street
Tupelo, MS 38801

Kennyatah Wofford
156 County Road 76
Woodland, Mississippi 39776

Ramona Ford
148 County Road 76
Woodland, Mississippi 39776

Glenda Willis
6515 Revena Court
Austell, Georgia 30168

Callie Ree White
1625 Hillsboro VFW Road
Forest, Mississippi 39075

Arletha White
1211 Laurentide Street
Houston, Texas 77029

Patricia Johnson
501 Market Street, Apt. 206
Marion, Illinois 62959

Malinda Chandler Brownlee
2303 Washington Avenue
Cairo, Illinois 62914

Ilsie Wright
30765 Hwy 46
Cedar Bluff, Mississippi 39741

Sallie Golden
16732 Luella Avenue
South Holland, Illinois 60473




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Lee Davidson
8919 Camino Villa Blvd
Tampa, Florida 33635

Lora Boler
603 Echo Summit Drive
Bakersfield, California 93312

Emmanuel Shotwell, Son of Prince Edward Shotwell and Emma Belk Shotwell
2829 Cottonwood Road, Apt. 2
Bakersfield, California 93307

Emanuel Shotwell, Jr.
1022 Poplar Street
Grenada, Mississippi 38901

Ida Shotwell Brownlee
5104 North 34th Street
Tampa, Florida 33610-6405

Leon Wilson
1212 Rosalia Drive
Bakersfield, CA 93304

Tyrone Ware
4008 Whirlwind Drive
Bakersfield, California 93313

Tia McGee
248 Robb Street
Magnolia, MS 39652

Ronnie Mae Shotwell George
1113 Priscilla Lane
Bakersfield, CA 93304

Glenda Ray Shotwell Carter Bonner
2208 Courtleigh Drive, Apt. C
Bakersfield, CA 93309

Annazette Harris
1014 S. F Street
Bakersfield, CA 93304




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Nina Rahman
837 E. Penrod Drive
Carson, CA 90746

Anjail Rahman
837 E. Penrod Drive
Carson, CA 90746

Kamal Rahman
837 E. Penrod Drive
Carson, CA 90746

Amir Rahman
837 E. Penrod Drive
Carson, CA 90746

Myla Muneerah Rahman
837 E. Penrod Drive
Carson, CA 90746

Murah A. Rahman, Jr.
837 E. Penrod Drive
Carson, CA 90746

Murah Abdul Rahman
837 E. Penrod Drive
Carson, CA 90746

Lorenzo Wilson
5930 Hwy 85, Apt. 104
Jonesboro, GA 30374

Linda Shotwell
505 Marimoor
Hutto, TX 78634

Deon Shotwell
17113 Casanova Ave.
Pflugerville, TX 78660

Ruby Belk
P.O. Box 38
Calumet City, IL 60409




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John L. Belk, Jr.
P.O. Box 38
Calumet City, IL 60409

James Belk, son of John L. Belk
P.O. Box 38
Calumet City, IL 60409

Vanda Belk-Pettiford
2300 Diana Court
Snellville, GA 30039

T.C. Roberson
614 Hoxie Avenue
Calumet City, IL 60409

Pearl Jordan
802 Blackhawk Drive
University Park, IL 60477

Louellea Roberson
614 Hoxie Avenue
Calumet City, IL 60409

Carol Williams
1009 Warwick Drive
Matteson, IL 60443

Katie Mae Johnson Jackson
1560 Turk Street 110
San Francisco, CA 94115

The addresses of the following Defendants are unknown, and a copy of this document shall
remain on file with the Clerk of this Court for these Defendants:

Luta Barber
Ollie Barber
Joseph Barber
Ruthie Lee Barber
Idell Barber
Dora Barber
Dora Belk
Ethel Belk
Unknown Heir of Johnnie McBelk
Unknown Heirs of Jo Ann Belk Cannon
Unknown Heirs of John Simpson Thompson



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Joe Silas Nettles
J.W. Watt
Ellis Moseley
John Estus Ford
Frankie James Ford
Walter Ford
Trances Ford
Unknown Heirs of Charles Chandler
Unknown Heirs of Ada P. Chandler
Unknown Heirs of Charles Lindberg Ford
Julia Chandler Lee
Unknown Heirs of Roberta Chandler Brown
Unknown Heirs of Johnny Frank White
Jessey White
Irish Jene White
Wash White
Chester Brownlee
Susie Brownlee
Unknown Heirs of Malinda Belk
Unknown Heirs of Mary Belk Gardner Kilgore
Unknown Heirs of Emma Barber
Unknown Heirs of Newton Barber
Unknown Heirs of Roosevelt Barber
Unknown Heirs of Violet Barber
Unknown Heirs of Sukkie Barber
Issac Barber
Unknown Heirs of Charley Henry, Sr.
Major Barber, Jr.
Unknown Heirs of Rock Belk
Unknown Heirs of Edward Belk
Unknown Heirs of Willie D. Belk
Unknown Heirs of Onegger Belk
Unknown Heirs of J.C. Belk
Unknown Heirs of Rachael Belk
Unknown Heirs of Genetta Belk
Unknown Heirs of James Belk, son of Sam Belk, Sr.
Unknown Heirs of X.L. Belk, a/k/a Ethel L. Belk
Unknown Heirs of Primer Roberson
Unknown Heirs of Willie Mae Belk
Unknown Heirs of Mary Asalene Shotwell Wilson
Unknown Heirs of Willie James Shotwell
Unknown Heirs of Letha Jane Shotwell
Unknown Heirs of Emmanuel Shotwell
Unknown Heirs of Faithy Jane Ford Justin
Unknown Heirs of Jessie James Ford
Unknown Owners



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Caroline Brownlee Willis
Unknown Heirs of John M. Belk
Edward Roberson
Perry Lewis Roberson, Jr.
Finetha Roberson
Willie Dean Shotwell
Jason Shotwell
Prince Edward Shotwell
Ronietta Shotwell
Johnny Blinks
Alfred Hunt
Emmanuel Shotwell, son of Prince Lee Shotwell and Doris M. Shotwell
Edward Shotwell
Lula N. Morton
Eddie Belk
Samuel D. Taylor
George A. Taylor, Jr.
Betty L. Evans
Mary C. Banks
Janie E. Taylor Williams
Hawaii H. Douglas
Richard Ivy, Jr.
Sam Belk, son of John L. Belk
Unknown Heirs of Virgie Belk
Unknown Heirs of Sally Belk
Unknown Heirs of David White
Unknown Heirs of Joe Silas White
Unknown Heirs of Ezell White, Jr.
Unknown Heirs of Emma White
Unknown Heirs of Clifford Ray White
L.C. White
Ray White
Lee White
Unknown Heirs of Willie Ed Dean
Ada Pearl Loftin Lee
Unknown Heirs of Lesley Chandler
Unknown Heirs of Chelsey Chandler
Jimmy Wofford
Derek Wooford
Gloria Ford Bass
Rose Ford Brown
Ella Ford Lyles
Shelia Ford Lindsey Starks
Louise Ford Strong
Annie Ford Lyles
Dolly Ford



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John Ford
Jimmy Chandler
Rebecca Barber Henry
Unknown Heirs of Timas Belk
Unknown Heirs of Lena Belk
Unknown Heirs of Ellis Russell Belk
Farrah Belk
Arthur Mark Belk
Tyler Kylee Belk, Jr.
Risco Belk
Lily Mae Belk
----END---




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